LTNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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SHAWMUT WOODWORKING & SUPPLY,                             )
INC. d/b/a SHAWMUT DESIGN AND                             )
CONSTRUCTION                                              )
                                                          )      Case   No.: 20-cv-2289 (DLC)
        Plaintiff                                         )
                                                          )
V                                                         )
                                                          )
STARBUCKS CORPORATION d/b/a                               )
STARBUCKS COFFEE COMPANY                                  )
                                                          )
       Defendant.                                         )
                                                          )

                                   PROPOSED DISCOVERY PLAN

       Pursuant to Fed. R. Civ. P.26(D, the plaintiff, Shawmut Woodworking              & Supply, Inc.
d/b/a Shawmut Design and Construction ("Shawmut"), and the defendant, Starbucks Corporation

d/b/a Starbucks Coffee Company ("Starbucks"), conferred and jointly submit this report outlining

certain positions and agreements with respect to the parlies' discovery plan in this action.

        1.      All parties do not   consent to conducting all further proceedings before a United

States Magistrate Judge, including motions and trial, pursuant to 28 U.S.C. $ 636(c)

       2.       The parties have previously engaged in settlement discussions and mediation in

an attempt to resolve this matter    without success. The parties do not believe that further

settlement discussions   will   be productive until they have had the opportunity to participate in

discovery and test the basis for each parties' claims and defenses.

       3.       This case is not to be tried to a jury.

A.     What changes should be made in the timing, form, or requirement for disclosures
       under Rule 26(a), including a statement of rvhen initial disclosures were made or
       will   be made;

       Initial Disclosures required by Fed. R. Civ. P. 26(a) shall be made by July 10, 2020.
B.      The subjects on which discovery may be needed, when discovery should be
        completed, and whether discovery should be conducted in phases or be limited to or
        focused on particular issues.

        The parties have agreed to that they   will   continue to meet and confer concerning the scope

of discovery.

        Shawmut believes that the discovery     it seeks will generally focus on, among other things,

the following categories of information relating to the construction project at issue:

        1.      Design changes implemented by Starbucks;

       2.       Shawmut'ssubstantialcompletionoftheproject;

       3.       Starbucks' agreement to pay Shawmut for its overtime/premium/acceleration costs;

       4.       Starbucks' agreement to pay Shawmut for certain changes/additionalwork;

       5.       Starbucks' failure to process and render payment for change order/additional work.

       6.       Shawmut's completion of punch list work;

       7.       Starbucks' failure to render payment to Shawmut;

       8.       Starbucks' responsibility for mechanical failures at the project; and

       9.       The parties' course of conduct throughoutthe project as it pertains to changes in

Shawmut's work, change orders, and extra/additional work and acceleration.

       Starbucks believes that the discovery it seeks     will   generally focus on, among other things,

the following categories of information relating to the work Shawmut and its subcontractors

performed on the construction project at issue:

       1.       The scope of the work Shawmut agreed to perform in exchange for the Lump Sum

Payment;




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        2.      Shawmut's numerous material breaches of the Contract when it failed to complete

the Work according to the Standard of Care as that term is defined in the Contract and relevant

construction industries.

        3.     Shawmut's and its subcontractors' failure to perform the work according to the

deadlines set forth in their construction schedules.

        4.     Shawmut's material breach of the Contract when it failed to achieve Substantial

Completion or Final Completion of the Work as those terms are defined by the Contract

Documents.

        5.     Shawmut's and its subcontractors' failure to comply with the Contract's change

order and notice provisions which were a condition precedent to obtaining an increase in the

Contract Price or Contract Time.

        6.     Communications between Shawmut and Starbucks and Shawmut and its

subcontractors that demonstrate that Shawmut understood and agreed that it was required to follow

the Contract's Change Order and notice provisions before it was entitled to receive an increase in

the Contract Price.

       7.      Shawmut's and its subcontractors'failure to comply with the Contract's Pay

Application and Final Payment provisions which was a condition precedent to receiving payments,

final payment and the release of the retainage.

       8.      Shawmut's and its subcontractors' failure to correct its defective work, to complete

the original Work, or punch list work.

       The parties agree that expert discovery should be completed after the conclusion of fact

discovery. Consistent with these agreements, the parlies contemplate the following schedule for

completion of discovery:



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        1.     Requests for Production: Initial requests for production were serued by Starbucks

on May 29,2020. Shawmut's initial requests for production to Starbucks and Shawmut's response

to Starbucks' initial requests for production were served on July 1,2020. Starbucks'Responses

to Shawmut's initial request for production of documents and Shawmut's responses to Starbucks

second request for production of documents shall be due on July 31,2020.         All   subsequent requests

for production shall be served no later than 30 days before the discovery cut-offdate. The parties

agree that document production can be made on a rolling basis. The parties' document production

in response to each party's request for production of documents served on or before July 7,2020,

shall be made on a rolling basis beginning not later than August l7 ,2020, and shall be completed

by September 30,2020. Al[ other document productions shall be made on        a   rolling basis beginning

not later than 45 days after the date of service of the requests for production to which they are

responsive, with production to be completed no later than 45 days thereafter.

        2.     Interrogatories: Interrogatories   will only be propounded   as   permitted by Local

Rule 33.3.

        3.     Depositions: Given the COVID-l9 pandemic, in addition to the jurisdictional

challenges presented by the availability and location of witnesses, the pafties shall commence with

depositions in the fall of 2020. The parties estimate that there are approximately twelve (12) to

fifteen (15) fact witnesses to be deposed in this matter. Likely deponents include former employees

of the pafiies, who are located outside of New York, and in one known instance, located outside

the United States. The parties thereby propose that they shall complete fact witnesses' depositions

by March 31,2021.




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               a.        Absent an agreement between the parties              or an order from the Couft,
       depositions are not to be held until all parties completed document production in response

       to the pafties' initialrequests for document production.

               b.        There is no priority for depositions by reason of a party's status as a plaintiff

       or a defendant.

               c.        Absent an agreement between the parties or an order from the Court, non-

       party depositions shall follow initial party depositions.

       4.      Expert Discovery: All expert discovery, including disclosures, reports, production

of underlying documents, and depositions shall be completed by July 16,2021               .



               a.        Witnesses disclosed as experts pursuant             to Rule Z6(a)(2)(C) may be
       deposed as to their proposed expert testimony notwithstanding theil having been previously

       deposed as fact witnesses.

               b.        Depositions of experts shall not be conducted until after the deadline for

       rebuttal repofts has passed.

               c.        April   15, 2021   - The parties with the burden ofproof on an issue to disclose
      the identity of any witness that may be used at trial to present evidence under Federal Rules

       of Evidence 702,703, or 705, together with the identification ofthe subject matter on which

      the witness is expected to present evidence.

              d.         April 30, 2021      - Initial expert reports due for all parties with a burden of
      proof on an issue.

              e.         May 28,2021        - Rebuttal   expert repofts due for all parties.

              f.         July 16, 2021   -   Expert depositions completed.




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        5.       Requests for Admission. Requests for admission shall be served on or before July

30,2021.

        6.       Final Discovery Deadline: All discovery shall be completed no later than August

3t,2021.

        7.       Counsel for the parties propose the following alternative dispute resolution

mechanism for this case: submission to private mediator.

        8.       The parties have confemed and their present best estimate of the length of trial is

two to three weeks.

C       Any issues about disclosure, discovery, or preser-vation of electronically stored
        information, including the form or forms in which it should be produced.

        At this time, the parties do not anticipate that the discovery of electronically stored

information ("ESI") will present any significant issues in this action. On June 17,2020,

Starbucks submitted to Shawmut a proposed stipulated order for the searching, collection, and

production of Electronically Stored Information ("ESI") and a list of proposed custodians and

search terms   (collectively "ESI Protocol"). On June 29,2020, Shawmut provided its suggested

revisions to the ESI Protocol and indicated that it would run test searches based on the proposed

search terms to inform the parties on the appropriate number and scope of custodians and search

tetms. The parties agreed to confer and to negotiate in good faith a final list of custodians and

search terms that   will   be used to search and collect the discoverable documents and information.

The parties have agreed that if relevant, discoverable ESI that is responsive to requests for

production, is reasonably related to Shawmut's or Starbucks' claims and defenses, is reasonably

accessible, and is maintained in the ordinary course of business, it   will   be   produced. The parties

will endeavor to address     any further issues concerning ESI in the ESI Protocol to be filed with

the Court.


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D         Any issues about claims of privilege or of protection as trial-preparation materials,
          including-if the parties agree on a procedure to assert these claims after
          production-whether to ask the court to include their agreement in an order under
          tr'ederal Rule of Evidence 502.

          Shawmut believes that Starbucks may assert claims of privilege or protection as trial-

preparation materials over documents and communications with various consultant(s) it retained

following the completion of the underlying construction projcct to allegedly inspect or investigate

Shawmut's      work. Shawmut      believes that these materials must be produced, as litigation was not

contemplated or threatened at the time Starbucks retained its consultant(s).

      E. What changes    should be made in the limitations on discovery imposed under these
          rules or by local rule, and what other limitations should be imposed.

          The parties do not agree to any limitations on discovery at this time.

      F. Any other orders that      the court should issue under Rule 26(c) or under Rule 16(b)
          and (c).

          On June 26,2020, Starbucks submitted to Shawmut a draft Protective Order that                   will

apply to the production and disclosure of Confidential Information. Shawmut is cumently

reviewing same and will provide its proposed revisions to Starbucks in the near term. The

Parties have agreed to reduce the terms of the ESI Protocol and Protective Order to writing to be

submitted to the Court.


Respectfu    lly submitted,

 P   laintiff/De fendant- in- Counterc laim,             De fendant/P   laintiff- in- Counterclaim,

 Shawmut Woodworking & Supply,Inc.                       Starbucks Coraoration         d,lb   I   a Starbucks
 d/b/a Shawmut Design and Construction                   Coffee Company

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Dated: New York, New York
       J,,tly 7,2020




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